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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION


 ZACHARY R. BARNETT,

 Plaintiff,                                                    Case No. 4:18-cv-02188

 v.
                                                            Honorable Judge Keith Ellison
 SPRINT CORPORATION,

 Defendant.


              AGREED STIPULATION OF DISMISSAL WITH PREJUDICE

        IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff ZACHARY R.

BARNETT and Defendant, SPRINT CORPORATION through their respective counsel that the

above-captioned action is dismissed, with prejudice, pursuant to Federal Rule of Civil Procedure 41.

Each party shall bear its own costs and attorneys’ fees.


Dated: August 14, 2019                                Respectfully Submitted,

ZACHARY R. BARNETT                                    SPRINT CORPORATION

/s/ Omar T. Sulaiman                                  /s/ Tammy L. Adkins (with consent)
Omar T. Sulaiman                                      Tammy L. Adkins
Counsel for Plaintiff                                 Counsel for Defendant
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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.



                                                       /s/ Omar T. Sulaiman
                                                       Omar T. Sulaiman




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